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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

____________________________________
PACE-O-MATIC, INC.,                 :
                                    :
                     Plaintiff,     :
     v.                             :              Docket No. 1:20-cv-00292
                                    :
ECKERT SEAMANS CHERIN &             :
MELLOTT, LLC, MARK S. STEWART :
and KEVIN M. SKJOLDAL,              :              (Judge Jennifer P. Wilson)
                                    :
                     Defendants.    :
____________________________________:

             STIPULATED CONFIDENTIALITY AGREEMENT
                     AND PROTECTIVE ORDER

      IT IS HEREBY STIPULATED by and between plaintiff, Pace-O-Matic, Inc.

(“POM” or “Plaintiff”), and defendants, Eckert Seamans Cherin & Mellott, LLC,

Mark S. Stewart and Kevin M. Skjoldal (“Eckert” or “Defendants” and collectively

with POM, the “Parties,” and each individually, a “Party”), through their respective

attorneys of record in connection with the above-captioned litigation (“Action”), as

follows:

      WHEREAS, documents, testimony, and information have been and may be

sought, produced, or exhibited by and among the Parties constituting, containing, or

relating to trade secrets, proprietary systems, confidential commercial and sales

information, confidential marketing and business development plans and strategies,

confidential research and development or other proprietary information, confidential
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employee information, confidential financial information, and/or other similar

confidential, proprietary, or private information belonging to the Parties and/or their

agents, employees, representatives, affiliates, business partners, clients, and/or

customers; and

      WHEREAS, the Parties believe that good cause exists for this Court to enter

a protective order to facilitate discovery and to govern the dissemination and use of

confidential, proprietary and/or private documents and information produced in this

Action;

      AND NOW, THEREFORE, IT IS STIPULATED AND AGREED by and

among the Parties that the Court may enter a protective order as follows:

      1.     This Protective Order (“Order”) is entered pursuant to Federal Rule of

Civil Procedure 26(c) and shall govern the use, handling, and disclosure of all

documents, testimony, or information produced or given in this Action that is or are

designated to be subject to this Order.

      2.     Definitions.

             a.     “Confidential Materials.”      A document, including but not

      limited to, deposition testimony, may be designated “CONFIDENTIAL”

      where it contains (i) information protected from disclosure by statute, rule,

      common law or agreement between the Designating Party and another party;

      (ii) information received in confidence from a non-Party; and/or (iii) non-

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public business, commercial, financial, or personal information, the public

disclosure of which would likely, in the good faith opinion of the Designating

Party, harm the Designating Party’s business, commercial, or financial

interests or cause the Designating Party to violate his, her, or its privacy or

confidentiality obligations to others.

      b.     The definition of “Confidential Materials” and the designation of

“CONFIDENTIAL” shall not apply to (i) information in the public domain at

the time of disclosure, provided that if only part of the contents of particular

“CONFIDENTIAL” Material is in the public domain, the remaining contents

shall remain subject to this Order; (ii) information that becomes a part of the

public domain through no fault of a Receiving Party; or (iii) information the

Receiving Party obtains from another properly and rightfully in possession of

said information, and not as a result of any breach of confidentiality, and

properly and rightfully authorized to make disclosure without restriction as to

disclosure. The Receiving Party shall have the burden of proving that the use

or disclosure satisfies one or more of these criteria.

      c.     “Producing Party” means any party that produces Confidential

Information in connection with this Action.

      d.     “Receiving Party” means any party that receives Confidential

Information in connection with this Action.

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              e.      “Designating Party” means any party that designates materials

      as “CONFIDENTIAL.”

      3.      Designation of Confidential Information. Except as to deposition

and trial testimony and transcripts which are governed by Paragraph 4 below, any

documents, testimony, or information produced, marked, exchanged or otherwise

submitted, either voluntarily or pursuant to any order or subpoena in this Action,

which is asserted in good faith by the Producing Party or by any other party to

contain or constitute Confidential Information, shall be so designated in writing (or

orally on the record if the document is produced at a deposition, hearing, or trial).

Materials so designated shall be clearly marked on their face with the legend

“CONFIDENTIAL.”

      4.      Depositions. A party wishing to designate portions of a deposition

transcript “CONFIDENTIAL” pursuant to this Order must, within seven (7) days

from the conclusion of the deposition, order the original or a certified copy of the

transcript of the deposition from the court reporter for regular turnaround. The

Designating        Party   may   designate       those   portions   of   the   transcript

“CONFIDENTIAL” either on the record during the deposition or by serving notice

upon all counsel of record in writing setting forth the page, line numbers and

designation. The Designating Party must serve such notice within ten (10) days after

its counsel receives a copy of the deposition transcript. All transcripts will be treated

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as Confidential Material until the expiration of the ten-day period described in the

preceding sentence. Any portions of a transcript designated as “CONFIDENTIAL”

shall thereafter be treated in accordance with such designation pursuant to this Order.

The parties shall negotiate in good faith to alter the time frames set forth in this

Paragraph in situations where a more expedited filing of a designated portion of the

deposition transcript is necessary or required.

      5.     Access to Confidential Information. In the absence of prior written

permission from the Producing Party or an order of Court:

             a.     Confidential Materials shall not be disclosed to any person other

      than: (i) the Parties, their officers, employees, attorneys, and attorneys of

      record in this Action, and the members and employees of such attorneys’

      firm(s); (ii) qualified persons taking testimony involving such material and

      necessary stenographic, videography, and clerical personnel; (iii) disclosed

      experts or retained consultants and their staff employed for this Action,

      provided they first agree in writing to maintain all Confidential Information

      as provided for in Paragraph 7 below; (iv) persons who authored or received

      such Confidential Information independently of production in this Action; (v)

      witnesses at trial or in any deposition or other proceeding of this Action,

      provided those among the witnesses who did not author or were not previously

      a recipient of such Confidential Information first agree in writing to maintain

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all Confidential Information as provided for in Paragraph 7 below; (vi) the

Court and Court personnel; and (vii) outside photocopying, microfilming, or

database service providers, trial support firms, graphic production services,

and litigation support services, engaged by a Party during this Action to whom

disclosure is reasonably necessary.

6.    Use and Dissemination of Confidential Information.

      a.     All Confidential Information, and all information derived

therefrom (including, but not limited to, testimony that refers, reflects, or

otherwise discusses any such Confidential Information), shall only be used or

disclosed as provided for in this Order, and shall not be, either directly or

indirectly, made public by any Receiving Party or be used by a Receiving

Party for any purpose other than (i) discovery and other trial preparation in

connection with this Action, including, but not limited to, motion practice,

trial, writs, appeals or (ii) ancillary proceedings for claims and/or defenses by

and among any of the Parties, regardless of whether such claims and/or

defenses are asserted in this Action or otherwise.

      b.     All persons to whom Confidential Information is disclosed shall

not disclose or disseminate such materials to any other person except as

provided in this Order.




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      7.     Declaration of Recipients. Any person provided with Confidential

Information shall be given a copy of this Order before being shown any Confidential

Information. Confidential Information shall not be disclosed to any person

designated in Paragraph 5(a)(iii), or (v) unless such person has executed a written,

dated declaration in the form attached as Exhibit A, acknowledging that he or she

has first read this Order, agrees to be bound by the terms thereof, agrees not to reveal

such Confidential Information to anyone other than as permitted by this Order, and

agrees to utilize such Confidential Information solely for the purposes of this Action.

      8.     Use of Confidential Information at Trial. If any Receiving Party

desires at trial or at a hearing to offer into evidence Confidential Information, such

offers or use shall be made in accordance with procedures determined in advance of

any trial or hearing.

      9.     Filing of Confidential Information. This Order does not prevent any

party from seeking to file Confidential Information under seal, or from seeking any

other similar relief pursuant to the policies, procedures or Local Rules of the United

States District Court for the Middle District of Pennsylvania. All Confidential

Information filed with the Court, and all portions of pleadings, motions or other

papers filed with the Court that disclose Confidential Information, or the substance

of such Confidential Information (“Confidential Filing”), shall be done pursuant to

the policies and procedures of the Court and Electronic Filing System, and the Local

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Rules of the United States District Court for the Middle District of Pennsylvania.

The parties shall work together in good faith, as necessary and/or required by the

policies and procedures of the Court and Electronic Filing System, the Local Rules

of the United States District Court for the Middle District of Pennsylvania and this

Order, to coordinate the filing of all Confidential Filings to permit compliance with

those policies, procedures, rules and this Order.

      10.    Subpoena or Request for Confidential Information by Third Party.

The Parties agree that Confidential Information produced in discovery in this Action

shall not be used, be required to be produced, or be admissible, in whole or in part,

in any other legal or administrative proceedings. If a Receiving Party receives a

subpoena, civil investigative demand, or formal request from any governmental

agency, governmental office, or other person, that calls for or would require the

disclosure or production of Confidential Information, the Receiving Party shall

provide a copy of such subpoena, demand, or request to the Producing Party within

three (3) days of the receipt of same by email and priority mail. If the Producing

Party files a motion with respect to any such subpoena, demand, or request, the

Receiving Party shall refrain from producing the Confidential Information until the

Court rules on the motion and the Receiving Party thereafter shall comply with the

Court’s Order.




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      11.    Inadvertent     Production       and/or   Mistaken    Designation     of

Confidential Information. If at any time before termination of this Action a

Producing Party through inadvertence or mistake realizes that Confidential

Information has been produced without marking it with a “CONFIDENTIAL”

designation, the Producing Party (a) may give written notice to the Receiving

Party(ies) that the material contains Confidential Information and should be treated

as such in accordance with the provisions of this Order (“Notice”); and (b) shall, if

such Notice is given, provide the Receiving Party(ies) with substitute copies of the

affected materials, marked with the appropriate confidentiality designation, at the

expense of the Producing Party. Upon receipt of such Notice and marked substitute

copies of the affected materials, the Receiving Party(ies) shall return or destroy all

unmarked or misdesignated materials and not retain copies thereof, and must treat

such material in accordance with its designation, provided however that the

Receiving Party shall not be responsible for the disclosure or other distribution of

undesignated or misdesignated material made in accordance with the terms of this

Order before the receipt of such notification of a claim of confidentiality. Any

Receiving Party that elects to destroy same (instead of returning them to the

Producing Party) shall confirm in writing within ten (10) days from receipt of any

Notice that those undesignated or misdesignated materials have been destroyed. A

Producing Party’s inadvertent or mistaken disclosure of Confidential Information

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shall not be deemed a waiver in whole or in part of a party’s claim of confidentiality

as to the specific information inadvertently or mistakenly disclosed or as to any other

information relating thereto or on the same or related subject matter.

      12.      Inadvertent Production of Materials Protected from Disclosure.

      If information subject to a claim of attorney-client privilege, the common

interest privilege, work product protection or other legally cognizable privilege,

protection or immunity is inadvertently disclosed (“Protected Information”), then

Federal Rule of Civil Procedure 26(b)(5)(B) and Federal Rule of Evidence 502(b)

shall apply.

      13.      Objections Reserved. Except as otherwise expressly provided for in

this Order, nothing contained in this Order shall affect or waive any party’s right to

object to the admissibility, discoverability, or privileged or exempted nature of any

documents or information, including but not limited to Confidential Information, all

such objections and exemptions being specifically preserved. Further, nothing

contained in this Order shall affect or waive a party’s right to object to any discovery

request(s) or subpoena.

      14.      Disagreement Regarding Designation of Confidential Information.

If a Receiving Party disagrees with any designation of Confidential Information

made under this Order, the Receiving Party shall notify the Designating Party in

writing of its objection, and the Parties shall attempt in good faith to resolve the

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disagreement informally. If the dispute cannot be resolved and the Receiving Party

concludes in good faith that the materials have been improperly classified, the

Receiving Party shall nevertheless continue to maintain the Confidential Information

in accordance with the Designating Party’s designation(s), but may move the Court

to determine the designated status of such materials and to seek relief from the

provisions of this Order. The Receiving Party shall continue to maintain the

Confidential Information in accordance with the Designating Party’s designation(s)

until the Court has ruled on the Receiving Party’s motion.

      15.    Unauthorized Disclosure of Confidential Information.                If a

Receiving Party learns that, by inadvertence or otherwise, it has disclosed or allowed

the disclosure of Confidential Information to any person or in any circumstance not

authorized under this Order, the Receiving Party must immediately (a) notify the

Producing Party in writing of the unauthorized disclosure(s); (b) use its best efforts

to retrieve all copies of the Confidential Information; (c) inform the person or

persons to whom unauthorized disclosures were made of all the terms of this Order;

and (d) request that such person or persons execute the declaration in the form

attached as Exhibit A.

      16.    Procedure upon Disposition of Action. Within thirty (30) days

following the final disposition of this Action, including any and all appeals, each

Receiving Party shall:

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      a.     Return to the Producing Party or destroy all printed or “hard”

originals of Confidential Information in its possession, custody or control, as

well as all printed or “hard” copies thereof. Any Receiving Party that elects

to destroy printed or “hard” copies of Confidential Information shall certify

in writing to the Producing Party that, based on a reasonable, good faith

review, the Receiving Party has destroyed all such documents in its

possession, custody or control.

      b.     If Confidential Information from a Producing Party is stored or

otherwise maintained electronically by the Receiving Party, including but not

limited to on an e-mail system or server, an internal document storage

program, computer or external hard drive, disk, cloud storage, or other

electronic media, the Receiving Party shall take all reasonable steps to delete

said Confidential Information and, in any event, render it inaccessible by their

representatives, attorneys and staff involved in the litigation of this Action.

Further, as to any electronic versions of Confidential Information existing on

backup storage media (including but not limited to backup “tapes” and

archived email programs), the Parties agree that such electronic copies shall

be subject to and deleted pursuant to such Receiving Party’s and counsel’s

routine data backup and retention policies, and that the actual permanent

deletion of such Confidential Information may occur as such backup media is

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      overwritten or otherwise as part of document deletion procedures in the

      normal course of business. The Receiving Party shall not in any event make

      any attempt to retrieve, restore, review, disseminate, or use the Confidential

      Information stored on any such backup storage media for any purpose, and

      must promptly take steps to delete or sequester such Confidential Information

      if a backup containing such data is ever retrieved or restored for any purpose.

            c.     This Paragraph shall not require the Receiving Party or his, her,

      or its counsel, to destroy or return Confidential Information containing,

      attaching, or constituting work product, nor shall this Paragraph require the

      destruction of documents filed with the Court or other tribunal for or in this

      Action, hearing or argument transcripts, deposition transcripts, trial

      transcripts, trial exhibits, discovery requests and written responses,

      stipulations, or correspondence between counsel for the Parties that contain

      verbatim Confidential Information, set forth the substance of such

      Confidential Information, or include any deposition testimony or documents

      designated as Confidential Information, provided however, that the Receiving

      Party or his, her, or its counsel, who retains such documents or information

      shall maintain them consistent with the provisions of Paragraph 6 above.

      17.   Survival of Terms. This Order shall remain binding after the final

disposition of this Action (which includes exhaustion of any and all appeals) on all

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persons to whom Confidential Information is produced, disclosed or otherwise

disseminated unless otherwise ordered by the Court, and the Court shall retain

jurisdiction over all parties bound hereby for the purposes of enforcing this Order.

Each individual signing the declaration attached as Exhibit A knowingly and

voluntarily agrees to be subject to the jurisdiction of this Court for purposes of this

Order.

      18.    Designation Not Evidence. Neither the entry of this Order, nor the

designation of any material as “CONFIDENTIAL” nor the failure to make such

designation, shall constitute evidence on any issue in this Action. The designation

of any materials as “CONFIDENTIAL” does not waive that party’s objection to any

discovery on the ground that the materials are subject to a protective order under

Federal Rule of Civil Procedure 26(c) or are otherwise protected by statute, rule or

common law.

      19.    Use of Own Materials. Nothing herein shall affect or restrict the rights

of any Party or witness with respect to its/his/her own documents or to documents

and information obtained or developed independently of Confidential Information

produced in this Action.

      20.    Effect of Protective Order on Third Parties. Third parties who are

the subject of discovery requests, subpoenas, or depositions in this Action may take




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advantage of the provisions of this Order by marking or designating such materials

or testimony consistent with its terms.

      21.    Immediate Effect of Proposed Protective Order. This Stipulated

Confidentiality Agreement and Protective Order is prospective only and applies only

to documents and materials produced or exhibited after its effective date. The Parties

agree to be bound by the terms of this Order prior to its approval by the Court. In

the event the Court does not enter this Order, the Parties agree that they shall

nevertheless be bound to the terms of the Order as if it had been so entered.



/s/                                              /s/
Daniel T. Brier                                  Abraham C. Reich
Donna A. Walsh                                   Robert S. Tintner
Myers, Brier & Kelly, LLP                        Fox Rothschild LLP
425 Spruce Street, Suite 200                     2000 Market Street, 10th Floor
Scranton, PA 18503                               Philadelphia, PA 19103-3291
(570) 342-6100                                   (215) 299-2090

Attorneys for Plaintiff,                         Attorneys for Defendants,
Pace-O-Matic, Inc.                               Eckert Seamans Cherin & Mellott, LLC,
                                                 Mark S. Stewart and Kevin M.
                                                 Skjoldal
SO ORDERED.

      FEBRUARY 18, 2022


                                          ______________________________________
                                           s/ Jennifer P. Wilson
                                          JENNIFER P. WILSON, U.S.D.J.




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                      EXHIBIT A
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

____________________________________
PACE-O-MATIC, INC.,                 :
                                    :
                     Plaintiff,     :
     v.                             :                        Docket No. 1:20-cv-00292
                                    :
ECKERT SEAMANS CHERIN &             :
MELLOTT, LLC, MARK S. STEWART :
and KEVIN M. SKJOLDAL,              :                        (Judge Jennifer P. Wilson)
                                    :
                     Defendants.    :
____________________________________:


       I,                                             being duly sworn, declare as follows:

My address is                                                                       .

My present employer is                                                              .

My present occupation or job description is

                                                                                                   .

I hereby acknowledge that: (i) I have received a copy of the Stipulated Protective Order
(“Protective Order”) entered in the above-captioned litigation (“Action”); (ii) I have carefully
read the Protective Order and asked any questions I may have about it; and (iii) I fully understand
the Protective Order’s terms.

I agree to comply with all of the Protective Order’s terms. I will hold all Confidential Information
disclosed to me, including the substance of and any copy, summary abstract, excerpt, index or
description of Confidential Information, in confidence, and will not disclose such material to
anyone not qualified under the Protective Order. I will not use any Confidential Information
disclosed to me for any purpose other than in connection with this Action.

I will, consistent with the terms of the Protective Order, destroy, sequester, or return all
Confidential Information that comes into my possession and all materials that I have prepared
relating thereto, to counsel for the Party by who I am retained or employed, or from whom I
received such Confidential Information.
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I hereby submit to the jurisdiction of the United States District Court for the Middle District of
Pennsylvania for the purpose of enforcing the Protective Order in this Action.

       I declare under the penalty of perjury under the law of the United States and the
Commonwealth of Pennsylvania that the foregoing is true and correct, and that this Declaration
was executed this    day of                                    , 202___.




                                                        [signature]
